
Cameron, J.
delivered the judgment of the Court:
The object of the act of Assembly which requires a bond to be given (according to the directions of the act) by the party obtaining a writ of Certiorari, is to indemnify the adverse party against the consequences incidental to the removal of the suit.
The Clerk of the County Court to which the writ goes, is directed to take from the applicant, such a bond as the act requires; if he fails in the performance of this duty, the ends of justice can no otherwise be attained than by such bond being taken in this Court, before a trial is had between the parties.
In this case, the applicant for the writ is in no fault. The omission of the Clerk of the County Court, should not drive him from the Superior Court unheard. He has done all that is in his power (and he has done enough) to secure his adversary, in the event of his being ultimately successful in the contest.—Let the bond be received, and the suit retained for trial.
